             CASE 0:22-cr-00223-NEB-DTS             Doc. 532    Filed 02/24/25     Page 1 of 1

                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MINNESOTA

                        INITIAL APPEARANCE - REVOCATION
                                                    )      COURT MINUTES - CRIMINAL
United States of America,                           )     BEFORE: ELIZABETH COWAN WRIGHT
                                                    )          U.S. MAGISTRATE JUDGE
                       Plaintiff,                   )
v.                                                  )   Case No:             22-cr-223 (NEB/DTS)
                                                    )   Date:                February 24, 2025
Abdinasir Mahamed Abshir (10),                      )   Courthouse:           St. Paul
                                                    )   Courtroom:            3C
                       Defendant.                   )   Time Commenced:      1:55 p.m.
                                                    )   Time Concluded:      2:00 p.m.
                                                    )   Time in Court:       5 minutes
APPEARANCES:
 Plaintiff: Jordan Sing, Assistant U.S. Attorney
 Defendant: Craig Cascarano
                 X Retained


Date Charges Filed: February 19, 2025                   Offense: attempt to tamper with and intimidate a
                                                        government witness.

         X Advised of Rights

on   Violation of X Pre-trial Release

X Government moves for detention.
Motion is X granted, temporary detention ordered.

Next appearance date is Friday, February 28, 2025 at 10:30 a.m. before U.S. Magistrate Tony N. Leung in
Courtroom 9W (MPLS) for:
 X Detention hrg        X Bond Revocation


Additional Information:
Government moves to unseal the [515] Motion for Revoke Pretrial Release.         X Granted.


                                                                                          s/nah
                                                                           Signature of Courtroom Deputy
